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                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              COLUMBIA DIVISION


MARY T. THOMAS, NEA RICHARD,
JEREMY RUTLEDGE,
THE FAMILY UNIT, INC., and the SOUTH
CAROLINA STATE CONFERENCE OF
THE NAACP,
                        Plaintiffs,

       v.
                                                      Case No.: 3:20-cv-01552-JMC

 MARCI ANDINO, in her official capacity
 as Executive Director of the South Carolina
                                                      STIPULATION OF DISMISSAL OF
 State Election Commission; JOHN
                                                      DEFENDANT HENRY D.
 WELLS, in his official capacity as Chair of
                                                      McMASTER
 the South Carolina State Election
 Commission; JOANNE DAY, CLIFFORD
 J. EDLER, LINDA McCALL, and SCOTT
 MOSELEY, in their official capacities as
 members of the South Carolina Election
 Commission;       and      HENRY         D.
 McMASTER, in his official capacity as
 Governor of South Carolina,


                             Defendant.

                              JOINT STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned parties

through their counsel, pursuant to F.R.C.P. 41(a)(1)(A)(ii), that Defendant Henry D. McMaster is

dismissed without prejudice from the above-captioned matter, with each party to bear its own

costs and fees.
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_/s/Thomas A. Limehouse, Jr.___               /s/ Susan K. Dunn
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McMaster, in his official capacity as
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Edler, Linda McCall, and Scott          South Carolina Republican Party
Moseley in their official capacities
as members of the South Carolina
Election Commission




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